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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 ATLANTIC RECORDING
 CORPORATION, LAFACE RECORDS
 LLC, SONY MUSIC
 ENTERTAINMENT, UMG
 RECORDINGS, INC., WARNER BROS.                Civil Action No.
 RECORDS INC., ARISTA MUSIC,                   1:17-CV-00431-AT
 ARISTA RECORDS LLC, BAD BOY
 RECORDS LLC, CAPITOL RECORDS,
 LLC, ELEKTRA ENTERTAINMENT
 GROUP INC., ROC-A-FELLA
 RECORDS, LLC, SONY MUSIC
 ENTERTAINMENT US LATIN LLC,
 ZOMBA RECORDING LLC,

                          Plaintiffs,

                    v.

 SPINRILLA, LLC and JEFFERY
 DYLAN COPELAND,

                          Defendants.

  PLAINTIFFS’ SECOND AMENDED CERTIFICATE OF INTERESTED
      PERSONS AND CORPORATE DISCLOSURE STATEMENT
      Pursuant to Rule 7.1 and N.D. Ga. Local Rule 3.3, Plaintiffs Atlantic

Recording Corporation, LaFace Records LLC, Sony Music Entertainment, UMG

Recordings, Inc., Warner Records Inc. (formerly Warner Bros. Records Inc.), Arista

Music, Arista Records LLC, Bad Boy Records LLC, Capitol Records, LLC, Elektra
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Entertainment Group Inc., Roc-A-Fella Records, LLC, Sony Music Entertainment

US Latin LLC, and Zomba Recording LLC hereby submit this Second Amended

Certificate of Interested Persons and Corporate Disclosure Statement, which is

revised to reflect recent changes to the corporate structures of Atlantic Recording

Corporation, Warner Records Inc. (formerly Warner Bros. Records Inc.), Bad Boy

Records LLC, and Elektra Entertainment Group Inc.

      (1)     The undersigned counsel of record for Plaintiffs certifies that the

following is a full and complete list of all parties in this action, including any parent

corporation and any publicly held corporation that owns 10% or more of the stock

of a party:

      (a)     Plaintiff:   Atlantic Recording Corporation.         Atlantic Recording

Corporation is indirectly wholly-owned by Warner Music Group Corp., a Delaware

corporation. Warner Music Group Corp. is a publicly traded company with more

than ten percent of its stock owned by AI Entertainment Holdings LLC and certain

of its affiliates, none of which are publicly traded companies. No publicly traded

corporation directly or indirectly holds ten percent (10%) or more of the stock in

Atlantic Recording Corporation or Warner Music Group Corp.




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       (b)   Plaintiff: LaFace Records LLC. Sony Corporation, a publicly traded

Japanese corporation, indirectly owns ten percent (10%) or more of LaFace Records

LLC.



       (c)   Plaintiff: Sony Music Entertainment. Sony Corporation, a publicly

traded Japanese corporation, indirectly owns ten percent (10%) or more of Sony

Music Entertainment.

       (d)   Plaintiff: UMG Recordings, Inc. Vivendi S.A., a publicly held French

company, indirectly owns ten percent (10%) or more of UMG Recordings, Inc.

       (e)   Plaintiff: Warner Records Inc. (formerly Warner Bros. Records Inc.).

Warner Records Inc. is indirectly wholly-owned by Warner Music Group Corp., a

Delaware corporation. Warner Music Group Corp. is a publicly traded company

with more than ten percent of its stock owned by AI Entertainment Holdings LLC

and certain of its affiliates, none of which are publicly traded companies. No

publicly traded corporation directly or indirectly holds ten percent (10%) or more of

the stock in Warner Records Inc. or Warner Music Group Corp.

       (f)   Plaintiff: Arista Music. Sony Corporation, a publicly traded Japanese

corporation, indirectly owns ten percent (10%) or more of Arista Music.




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       (g)   Plaintiff: Arista Records LLC. Sony Corporation, a publicly traded

Japanese corporation, indirectly owns ten percent (10%) or more of Arista Records

LLC.

       (h)   Plaintiff: Bad Boy Records LLC. Bad Boy Records LLC is a joint

venture in which BB Investments LLC, an indirectly wholly-owned subsidiary of

Warner Music Group Corp., holds a 50% interest. Warner Music Group Corp. is a

publicly traded company with more than ten percent of its stock owned by AI

Entertainment Holdings LLC and certain of its affiliates, none of which are publicly

traded companies. Bad Boy Records, which is not a publicly traded company, holds

the remaining 50% interest in Bad Boy Records LLC.             No publicly traded

corporation directly or indirectly holds ten percent (10%) or more of the stock in

Bad Boy Records LLC or Warner Music Group Corp.

       (i)   Plaintiff: Capitol Records, LLC. Vivendi S.A., a publicly held French

company, indirectly owns ten percent (10%) or more of Plaintiff Capitol Records,

LLC.

       (j)   Plaintiff: Elektra Entertainment Group Inc. Elektra Entertainment

Group Inc. is indirectly wholly-owned by Warner Music Group Corp., a Delaware

corporation. Warner Music Group Corp. is a publicly traded company with more

than ten percent of its stock owned by AI Entertainment Holdings LLC and certain

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of its affiliates, none of which are publicly traded companies. No publicly traded

corporation directly or indirectly holds ten percent (10%) or more of the stock in

Elektra Entertainment Group Inc. or Warner Music Group Corp.

      (k)    Plaintiff: Roc-A-Fella Records, LLC. Vivendi S.A., a publicly held

French company, indirectly owns ten percent (10%) or more of Plaintiff Roc-A-Fella

Records, LLC.

      (l)    Plaintiff: Sony Music Entertainment US Latin. Sony Corporation, a

publicly traded Japanese corporation, indirectly owns ten percent (10%) or more of

Sony Music Entertainment US Latin.

      (m)    Plaintiff: Zomba Recording LLC. Sony Corporation, a publicly traded

Japanese corporation, indirectly owns ten percent (10%) or more of Zomba

Recording LLC.

      (n)    Defendant: Spinrilla, LLC.

      (o)    Defendant: Jeffery Dylan Copeland.

      (2)    The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or corporations

having either a financial interest in or other interest which could be substantially

affected by the outcome of this particular case:



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      (a)    Plaintiffs: Warner Music Group Corp.; Access Industries, Inc.; AI

Entertainment Holdings LLC; Sony Corporation; Vivendi S.A.; BB Investments

LLC; Bad Boy Records.

      (b)    Defendants: Unknown to Plaintiffs.

      (3)    The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this proceeding:

      (a)    Plaintiffs: James A. Lamberth, Andrew H. Bart, Previn Warren.

      (b)    Defendants: David M. Lilenfeld, Kaitlyn Anne Haase, Kennington

Groff, Robin L. Gentry.




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This 16th day of July, 2020.             Respectfully submitted,


                                         JENNER & BLOCK LLP
                                         /s/ Andrew H. Bart

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         CERTIFICATE OF COUNSEL REGARDING FONT SIZE

      I, Andrew H. Bart, an attorney, hereby certify that the foregoing has been

prepared with a font size and point selection (Time New Roman, 14 pt.) which is

approved by the Court pursuant to Local Rules 5.1(C) and 7.1(D).

                                                    /s/ Andrew H. Bart


                         CERTIFICATE OF SERVICE

      I, Andrew H. Bart, an attorney, hereby certify that on this 16th day of July,

2020, Plaintiffs’ Second Amended Certificate of Interested Persons and Corporate

Disclosure Statement was electronically filed with the Clerk of Court using the

CM/ECF system, which will automatically send an electronic notification and a

service copy of this filing to all counsel of record who have appeared in this matter.

                                                    /s/ Andrew H. Bart




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